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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------X
  FILOMENA RUSSO,                                                     Case No. 2:21-cv-03090 (GRB)

                                                Plaintiff,

                     -against-

  WYANDANCH UNION FREE SCHOOL DISTRICT
  and PAUL SIBBLIES, in his individual capacity,

                                                Defendants.
  ----------------------------------------------------------------X




                   REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
                   DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT




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                                  PRELIMINARY STATEMENT

         This reply brief is submitted on behalf of the Wyandanch defendants in further support of

 their motion to dismiss/motion for summary judgment. This is not a typical sexual harassment

 case as plaintiff was a willing participant in the back and forth banter she now complains of. See

 e.g., 56.1, ¶32-39. Nor is this case about power as plaintiff became a tenured teacher at the District

 after her transfer to the Middle School - a transfer she admittedly blamed on Principal Sibblies at

 the time, and concededly pleaded with him to return her to his supervision at the High School. See

 e.g., 56.1 ¶ 64-69.

         Nor does plaintiff’s opposition contest the District’s Faragher defense in that plaintiff does

 not dispute that she never reported the subject conduct until six (6) months after she last worked

 for Principal Sibblies -- despite being aware of the District’s sexual harassment reporting policies.

 As such, the sexual harassment claims should be dismissed in their entirety.

         Nor does plaintiff mount significant opposition to the adverse impact argument, as

 explained below. Plaintiff remains a fully tenured teacher who faces no current investigations or

 loss of income. In fact, it is conceded she has received a raise since the inception of this litigation.

 56.1 ¶ 12.

         Lastly, plaintiff raises defamation, although the Court already dismissed this claim. ECF

 No. 20. In view of the foregoing, the instant action should be dismissed in its entirety.

                                               POINT I

                         IT IS UNDISPUTED THAT THE FARAGHER DEFENSE
                         APPLIES AS PLAINTIFF NEVER COMPLAINED OF ANY
                         HARASSMENT


         Plaintiff’s 56.1 and Brief do not dispute that plaintiff knew the District reporting policies,

 yet did nothing to report any harassment -- until six (6) months after she last worked at the high

                                                    1
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 school, and after she had pleaded with Principal Sibblies to transfer her back to the high school.

 56.1 ¶ 19-26. Putting aside that he did not have this power, these admitted facts make clear that

 plaintiff’s complaint with Sibblies had nothing to do with sexual harassment, but everything to do

 with her being transferred from the high school -- away from him.

          So too, it is undisputed that in her last conversation with Sibblies, she told him to “buckle

 up mother fucker”, as her attorneys were coming after him. This is hardly the expression of a

 person frightened to complain. See Ex. C at p. 95.

          Beyond these undisputed facts, plaintiff does not dispute the Faragher/Ellerth case law.

 Instead, they suggest that the alleged hostile environment/harassment claim can be imputed to the

 District because the Principal was in a supervisory position over plaintiff. They surprisingly cite

 to the Circuit’s decision in Gorzynski v. JetBlue Airways Corp., which we also cited. 596 F.3d 93

 (2010). However, immediately after the Gorzynski panel discussed the basis for vicariously

 implicating the employer, it explained that even if the conduct could be vicarious, the employer

 was still permitted to raise the Faragher/Ellerth defense to liability. Gorzynski at 103. That case

 thus does not assist plaintiff at bar.

          Nor does plaintiff even address our caselaw explaining the “credible fear” test. See Moving

 Brief, p. 12. In any event, plaintiff makes no showing of what the District, her employer, might

 do if she complained about Sibblies -- as opposed to her claimed fear of what the Principal would

 do.1 No case has held that a principal is a “proxy” for a school district. As explained below, the

 Second Circuit has rejected any imputing of a principal’s behavior to the District for purposes of

 decision-making. See Agosto, infra. This is a textbook case where Faragher should apply, and



 1
  Plaintiff’s allusion to others being transferred is misplaced as she doesn’t even suggest they were transferred after
 complaining of harassment or discrimination -- but rather because the Principal did not “like” them. See plaintiff’s
 Affidavit, Ex. 3.

                                                           2
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 there is no conceivable jury question. Accordingly, the hostile work environment claim, including

 the sexual harassment and gender discrimination2 claims, must be dismissed.

                                                      POINT II

                            PLAINTIFF HAS NOT DEMONSTRATED AN
                            ADVERSE EMPLOYMENT IMPACT

          Plaintiff cites the standards for the requisite adverse impact, with which we agree.

 However, plaintiff does not dispute the caselaw that neither her transfer to the middle school or

 her temporary reassignment to home office in late June of 2021 was an adverse action. As to the

 2019 transfer, plaintiff does not dispute that she never objected to it, other than her pleading with

 the Principal to transfer her back to the High School.

          So too, it is undisputed that Dr. White recommended her for tenure while she was at the

 Middle School, in part based on evaluations done by Principal Sibblies. See also White Affidavit.

 As such, she advanced due to the transfer. As to the temporary 2021 reassignment, the plaintiff

 does not even attempt to distinguish the seminal Joseph case of the Second Circuit, which holds

 that paid administrative leave both during and following the investigation does not qualify as an

 adverse action. Joseph E. Leavitt, 465 F.3d 87 (2d Cir. 2006).

          In this regard, plaintiff also admits in her 56.1 that the two (2) students that came forward

 to the District in mid-June of 2021 initially corroborated the allegations against her of underage

 drinking and improper relations with students in June of 2021. See 56.1 Response, ¶ 135. Given

 this admission, plaintiff agreed in her testimony that the District was duty bound to at least

 investigate these serious allegations involving students. Ex. C at pp. 478-479; see also Hodge Aff.

 at ¶3.


 2
  It is undisputed that plaintiff received a promotion to a tenured position after she initially complained to the EEOC,
 and there is no claim that any males were ever treated better than she by the District in terms of adverse impacts. As
 such, there is also no substance to any gender claim.

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         Nor did plaintiff lose any time or pay due to the investigation which cleared her before the

 school year began in September of 2021. Ex. C at pp. 330, 355-56.

         We do note that plaintiff’s brief does make certain misstatements of fact. For example,

 there is no proof that Principal Sibblies ever stated that plaintiff had inappropriate sexual conduct

 with two former students. See p. 10 of Brief. Moreover, there is no proof that the Principal ever

 was involved with then-Athletic Director Singleton’s alleged “coercion” of the two students who

 came forward to District HR. While plaintiff admits that the students initially corroborated the

 alleged misfeasance by plaintiff on the Puerto Rico trip, plaintiff suggests that Sibblies was

 somehow involved with it.

         In this regard, plaintiff relies on unsupported hearsay statements that union representatives

 told her this, or that the mothers of the children told her this. However, a review of the one (1)

 union affidavit submitted, the Popko Affidavit, reflects that it does not mention Principal Sibblies.

 So too, the mothers’ affidavits do not say anything negative about the Principal.

         For example, plaintiff proffers an affidavit from Ms. Sexton, the mother of Alonte Shipp,3

 one of the 21 year olds who corroborated the alleged misfeasance of Ms. Russo. She swears in her

 Affidavit that it was Athletic Director Singleton who not only made nasty remarks about Ms. Russo

 openly at a District party, but also that Singleton paid her son $100 to go to District HR. See Ex.

 15. Nowhere in the mother’s affidavit does it mention Principal Sibblies.

         Similarly, the mother of the other former student Dionte Jordan4, Ms. Legette, states in an

 affidavit “Defendant Sibblies was a mentor to my son. I never had any issues with defendant

 Sibblies.” See plaintiff’s Exhibit 14.


 3
   Mr. Shipp was unfortunately killed in August of 2021 before the investigator could speak to him. See Newsday
 August 24, 2021. www.newsday.com/long-island/suffolk/alonte-shipp-wyandanch-high-school-fatally-shot-n06575.
 4
   We note that Ms. Legette’s Affidavit does not actually mention the name of her son, although it is undisputed by
 plaintiff that her son is Dionte Jordan. See Ex. C at 328; see also Hodge Affidavit.

                                                         4
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        The foregoing Legette Affidavit dated June 28, 2021 was produced during discovery, and

 plaintiff was questioned about it. She admitted that her counsel had prepared it, and met with Ms.

 Legette. See Ex. C at pp. 520-521. In opposition to the current motion, Ms. Legette submitted an

 additional affidavit, this one dated April 7, 2022. See Plt. Ex. 16. This was not produced in

 discovery. This new affidavit again reiterates that Sibblies was a mentor to her son, and she never

 had any issues with the principal during her son’s time with the principal.

        However, this new affidavit contains a new final paragraph which states that Mr. Singleton

 called her at some unidentified time, and told her that he and Principal Sibblies “needed” her son

 because Mr. Sibblies “needed” help. If this were true, it is unknown why she did not say it the

 year earlier. It is also unknown why she would say she never had an issue with Mr. Sibblies in the

 same affidavit. Clearly, the Court cannot countenance such gamesmanship, and we ask the Court

 to disregard any illusion that Sibblies was involved -- particularly because it is hearsay. Plaintiff

 has not submitted an Affidavit from the aforementioned Singleton or from Legette’s son. Nor has

 Ms. Legette explained when or how she suddenly recalled on the eve of plaintiff’s opposition being

 due, that Singleton called her and said that Sibblies “needed” her son.

        Of course, this hearsay statement of “needing” her son, is far different than saying

 “coercing” her son or “paying” her son -- neither of which she declares. The Court certainly has

 the authority to disregard the creation of a new affidavit that contradicts a prior sworn statement.

        Testimony that is directly contradicted by documentary evidence cannot defeat summary

 judgment. See Danzer v. Norden Systems, Inc., 151 F.3d 50, 57 & n. 5 (2d Cir. 1998); see also

 Smith v. Am. Express Co., 853 F.2d 151, 155 (2d Cir. 1988). Just as the Court should not accept

 an affidavit that contradicts deposition testimony, it should also not allow inconsistent allegations




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 to defeat summary judgment. AB ex rel. EF v. Rhinebeck Central School District, 361 F.Supp.2d

 312, 316 (S.D.N.Y. 2005).

          As such, the Court should utilize its discretion and disregard giving any weight to this new

 final paragraph in the Legette affidavit.

          Other than that illusion, plaintiff actually admits in her affidavit that she made a complaint

 against Singleton on June 14th, the day before Singleton accused her of misfeasance. See Russo

 Affidavit, Ex. 3, ¶ 67. See also Hodge Affidavit. As such, the Hodge timeline that Singleton only

 came forward after plaintiff had accused him of improper behavior is confirmed by plaintiff’s

 Affidavit.

          In this regard, plaintiff’s admissions also render their conspiracy timeline even more

 implausible. Plaintiff claims that the defendants were served with this Federal Complaint at 3:19

 p.m.5 on June 14th, and then concocted a plan to have two former students corroborate allegations

 of improprieties against plaintiff within the next 48 hours.

          In short, plaintiff would have this Court believe that although plaintiff had already accused

 Singleton of improprieties on June 14th, causing Singleton to defend himself by pointing to

 plaintiff’s own improprieties, that it was the service of the Federal Complaint on the afternoon of

 the 14th, which caused Singleton to do this. Quite frankly, it doesn’t matter what caused Singleton

 to do this. He is not a party or connected to the allegations at bar, and there is no plausible

 evidentiary proof that Sibblies was involved in the supposed plot.

          As such, there is no basis to find that plaintiff has been harmed in any way, let alone that

 there have been any causation by the District’s actions. Plaintiff admitted the District was duty



 5
  A review of plaintiff’s Affidavit of Service on “Sibblies” reflects that the principal was not personally served on June
 14th. Rather, the process server left it with an unidentified person at District Administration. See Ex. 11. As such, the
 Principal was not served on June 14th, rendering plaintiff’s conspiracy theory with yet another question mark.

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  bound to investigate serious investigations involving students, as set forth above. The District

  investigated swiftly, and then cleared plaintiff expeditiously. All the while, plaintiff was paid in

  full, and did not lose any benefits. So too, she was not in school for the summer, and thus did not

  even lose any contact with students. As such, this bizarre sideshow involving Singleton is

  immaterial to the legal analysis of whether the 2021 investigation claim should be dismissed.

         It is also worthy of note with respect to the plaintiff’s claims that the Principal had others

  transferred, (putting aside this relevance of these claims), that it is within a principal’s discretion

  to transfer teachers. The commonality of plaintiff’s affidavit is that the principal did not “like”

  these teachers -- not that there was any claims of sexual harassment involved with any of them.

  See Ex. 3. Accordingly, there is no merit to the plaintiff’s theory that there were other women

  transferred. So too, plaintiff testified that men were transferred to the Middle School at the same

  time she was, and so not “only” women were transferred in the District. See Ex. 2, p. 532.

                                               POINT III

                 PLAINTIFF CANNOT ESTABLISH AN ADVERSE ACTION OR
                 ANY CAUSAL CONNECTION BETWEEN A PROTECTED
                 ACTIVITY AND AN ADVERSE RETALIATORY ACTION

         Initially, plaintiff clearly has not met the adverse action test for retaliation. In addition to

  the grounds set forth above for her discrimination claims, she clearly was not dissuaded from

  making any complaints. As her brief points out, she filed another complaint with the EEOC on

  July 30th, 2021. See Plaintiff’s Ex. 7. Before that, she had gone to Newsday, who published an

  expose of this lawsuit in early July.       www.newsday.com/long-island/education/wyandanch-

  principal-civil-lawsuit-1.5029.

         These exercises of her free speech rights occurred shortly after she was supposedly

  defamed due to the District’s investigation of corroborated claims by the two former students



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  discussed above. The record is undisputed that neither Principal Sibblies, nor anyone else at the

  District took any steps to publicize the investigation, or any conduct of plaintiff, whether on the

  Puerto Rico trip or otherwise. Instead, it was plaintiff who was featured in the Newsday article,

  and it was plaintiff who then went to the EEOC in July of 2021, a month after her investigation

  started.

             Of course, plaintiff was expeditiously cleared of the allegations and she returned to

  teaching by early September when school resumed for the 2021-22 school year. As such, not only

  was she not chilled, but she also had no adverse employment action. She admittedly explained

  during her deposition that she enjoys working with her colleagues at the Olive School in terms of

  both their social and professional interactions. See Plt. Ex. 2, pp. 148-49.

             Lastly, plaintiff generally claims retaliation premised upon a comment not made to her, but

  allegedly to her union representative Popko shortly after this suit was filed. Plaintiff claims that

  the principal who recommended her for tenure, Dr. White, told a union representative that “if Ms.

  Russo drops the case, this will all go away.” See Popko Affidavit, Plt. Ex. 4. Initially, Ms. Popko

  does not identify what “this will all go away” is. However, assuming arguendo, that she is

  referring to the investigation that was commenced in late June of 2021, it is impossible to connect

  the principal who allegedly said this to the investigation. As a matter of law, the Second Circuit

  has held that a principal is not a decision maker in a school district. See Agosto v. City of NY,

  982 F.3d 86 (2d Cir. 2021).

             Secondly, as explained in the accompanying Affidavit of Dr. White, she knew little of the

  complaint (it had just been served on the District in mid-June, and the Newsday article had not yet

  appeared); and she had nothing to do with the investigation. So too, it is quite a stretch to think

  that the principal who just recommended plaintiff for tenure was now threatening her. In any



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  event, this is not retaliatory, as nothing was done to plaintiff as a result of this alleged comment.

  At best, it is evidence of a person without authority attempting to resolve a dispute.

         In view of the foregoing, there is no basis for any retaliatory claim and certainly not the

  “but for” causation required, as explained in our moving brief.

                                              POINT IV

                      THERE CAN BE NO MONELL LIABILITY AT BAR

         Plaintiff does not even respond to this point, and thus all §1983 claims against the District

  should be dismissed.

                                           CONCLUSION
         For the reasons set forth above and our moving papers, the Amended Complaint should be

  dismissed.


  Dated: Mineola, New York
         April 25, 2022



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